                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION

                                       No. 5: 14-CR-00175-FL


UNITED STATES OF AMERICA                      )
                                              )
                     v.                       )                           ORDER
                                              )
MARCUS WHITE,                                 )
                                              )
      Defendant.                              )


       This matter is before the court with regard to the Government's Motion to Supplement

the Evidentiary Record, filed on May 19, 2015. Gov't's Mot. [DE-36]. On May 5 and 6, 2015,

the court held a hearing on Defendant's Motion to Suppress [DE-21].               The court allowed

Defendant's request to file supplemental briefing, which is due within ten (10) days of the

parties receiving a transcript of the suppression hearing, with the Government's responsive brief

due seven (7) days thereafter. Minute Entry for May 6, 2015 Hrg. [DE-33].

       The Government asks the court to supplement the evidentiary record of the hearing on

Defendant's Motion to Suppress, to include an Affidavit of Detective David Franklin, signed on

May 19, 2015 and labeled "Government Exhibit M-4" [DE-36-1]. Gov't's Mot. [DE-36] at 1-4.

In its motion, the Government states that counsel for Defendant was made aware of the

affidavit's contents and consents to its inclusion in the evidentiary record. !d. at 3.

       Accordingly, the Government's Motion to Supplement the Evidentiary Record [DE-36]

is ALLOWED, and Government's Exhibit M-4 shall be included in the evidentiary record on

Defendant's Motion to Suppress [DE-21].




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SO ORDERED, this th~O day of May 2015.



                                     R~
                                     United States Magistrate Judge




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